  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 1 of 48 Page ID #1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

BRADLEY HALFORD and             )
JOYCE HALFORD, h/w              )
                                ) Civil Case No.:
      Plaintiff,                )
                                ) Judge:
v.                              )
                                ) COMPLAINT
SYNGENTA CROP PROTECTION LLC, )
SYNGENTA AG and CHEVRON U.S.A., )
INC.,                           )
                                )
      Defendant.                )



                                          COMPLAINT

       Plaintiffs BRADLEY HALFORD (“Plaintiff”) and JOYCE HALFORD (hereinafter

“Plaintiff-Spouse”) bring this Complaint against Defendants, Syngenta Crop Protection LLC,

Syngenta AG, and Chevron U.S.A., Inc. (collectively “Defendants”), and allege as follows:

                              I.      SUMMARY OF THE CASE

       1.      The manufacturers and sellers of paraquat deliberately concealed the dangers of

paraquat for at least four decades, hid evidence of its dangers from government safety agencies,

and knowingly unleashed a product they knew caused Parkinson’s Disease on the public.

       2.      Paraquat is a synthetic chemical compound1 that, since the mid‐1960s, has been

developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

herbicide products (“paraquat products”) developed, registered, formulated, distributed, and sold

for use in the United States (“U.S.”), including the States of Illinois and Missouri (“the States of

Exposure”).


1 Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA

Pesticide Chemical Code 061602).
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 2 of 48 Page ID #2




       3.      From approximately May 1964 through approximately June 1981, Imperial

Chemical Industries Limited (“ICI Limited”) and certain ICI Limited subsidiaries,2 and from

approximately June 1981 through approximately September 1986, Imperial Chemical Industries

PLC (“ICI PLC”) and certain ICI PLC subsidiaries, each of which was a predecessor 3 of

Defendant Syngenta AG (“SAG”) and/or Defendant Syngenta Crop Protection LLC (“SCPLLC”),

were engaged, directly, acting in concert with each other, and/or acting in concert with Chevron

Chemical Company, previously known as California Chemical Company (“CHEVRON”), in the

business of developing, registering, manufacturing, distributing, and selling paraquat for use as an

active ingredient in paraquat products, and developing, registering, formulating, and distributing

paraquat products, for sale and use in the U.S., including the States of Exposure (“the U.S. paraquat

business”).

       4.      From approximately May 1964 through approximately September 1986,

CHEVRON, a predecessor of Defendant CHEVRON U.S.A., INC. (“CUSA”), was engaged,

directly and/or acting in concert with ICI,4 in all aspects of the U.S. paraquat business.

       5.      Between approximately May 1964 and approximately September 1986, ICI

manufactured and sold to CHEVRON paraquat (“ICI‐CHEVRON paraquat”) for use by

CHEVRON, and others to which CHEVRON distributed it, as an active ingredient in paraquat

products that CHEVRON and others formulated and distributed for sale and use in the U.S. (“ICI‐



2 As used in this Complaint, “subsidiary” means a corporation or other business entity’s wholly‐

owned subsidiary that is or formerly was engaged in the U.S. paraquat business directly or acting
in concert with others.
3 As used in this Complaint, “predecessor” means a corporation or other business entity or

subsidiary thereof, to which a Defendant is a successor by merger, continuation of business, or
assumption of liabilities, that formerly was engaged in the U.S. paraquat business directly or acting
in concert with others.
4 As used in this Complaint, “ICI” means ICI Limited and various ICI Limited subsidiaries through

approximately June 1981 and ICI PLC and various ICI PLC subsidiaries thereafter.
                                                  2
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 3 of 48 Page ID #3




CHEVRON paraquat products”), including the States of Exposure. The paraquat products

formulated and distributed for sale and use in the U.S. by CHEVRON between May 1964 and

approximately 1986 were still in distribution for sale and use in the U.S., including the States of

Exposure, up and through the year 1989.

       6.      From approximately September 1986 through the present, ICI PLC and certain ICI

PLC subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors and

certain subsidiaries of each (including predecessors of SCPLLC), and most recently SAG and

certain SAG subsidiaries (including SCPLLC), have been engaged, directly and/or acting in

concert with each other, in all aspects of the U.S. paraquat business.

       7.      From approximately September 1986 through the present, ICI PLC and certain ICI

PLC subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors and

certain subsidiaries of each (including predecessors of SCPLLC), and most recently SAG and

certain SAG subsidiaries (including SCPLLC), have manufactured paraquat (“ICI‐SYNGENTA

paraquat”) for their own use, and for use by others to which they distributed it, as an active

ingredient in paraquat products that SCPLLC and its predecessors and others have distributed for

sale and use in the U.S., including the States of Exposure (“ICI‐SYNGENTA paraquat products”).

       8.      Upon information and belief, Plaintiff used and/or was exposed to ICI‐CHEVRON

paraquat products and/or ICI‐SYNGENTA paraquat products (collectively, “Defendants’ paraquat

products”).

       9.      Upon information and belief, Plaintiff used and/or was exposed to Defendants’

paraquat products regularly and frequently over a period of many years.

       10.     As a result of Plaintiff’s regular, frequent, and prolonged exposure to Defendant’s

paraquat products, Plaintiff contracted Parkinson’s disease.



                                                 3
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 4 of 48 Page ID #4




       11.     Plaintiff brings this case to recover from Defendants, under the following theories

of liability, compensation for injuries and damages caused by the exposure of Plaintiff to paraquat

from Defendants’ paraquat products, plus costs of suit: strict product liability—design defect; strict

product liability—failure to warn; negligence; breach of express warranties and implied warranty

of merchantability; violations of the consumer fraud and deceptive business practices act; and

fraudulent misrepresentation.

                                         II.     PARTIES

   A. Plaintiff

       12.     Plaintiffs are residents of Illinois (“State of Residence”).

       13.     Plaintiff was born on or around August 14, 1954. Plaintiff was regularly exposed

to Defendants’ paraquat products throughout his life in the States of Exposure.

       14.     Plaintiff came into contact with Defendants’ products between 1975 and 1988 in

the States of Exposure.

       15.     Plaintiff touched, absorbed, inhaled, inadvertently ingested, or otherwise came into

contact with Defendants’ paraquat products for at least thirteen years while Plaintiff was in the

direct vicinity of mixing, loading, spraying, handling, or otherwise coming into contact with

Defendants’ paraquat products.

       16.     Each exposure of Plaintiff to Defendants’ paraquat products caused or contributed

to causing Plaintiff’s development of Parkinson’s disease, with which Plaintiff was diagnosed with

on or about 2018.

       17.     Plaintiff’s exposure initiated a decades‐long process in which oxidation and

oxidative stress, created or aggravated by the ongoing redox cycling of paraquat, damaged and




                                                  4
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 5 of 48 Page ID #5




interfered with essential functions of dopaminergic neurons in his SNpc, resulting in the ongoing

degeneration and death, as time passed, of progressively more dopaminergic neurons.

       18.     Defendants, and those with whom they were acting in concert, manufactured and

distributed the paraquat that was used in formulating Defendants’ paraquat products and to which

Plaintiff was exposed, and formulated and distributed Defendants’ paraquat products that

contained the paraquat to which Plaintiff was exposed, intending or expecting that these products

would be sold and used in the States of Exposure.

       19.     When Plaintiff was exposed to paraquat, he neither knew nor could have expected

that paraquat was neurotoxic or that exposure to it could cause any neurological injury or

neurodegenerative disease.

       20.     When Plaintiff was exposed to paraquat, he neither knew nor could have expected

that wearing gloves, a mask, or other personal protective equipment or taking any other precautions

might have prevented or reduced the risk of a neurological injury or neurodegenerative disease

caused by exposure to paraquat.

       21.     Plaintiff only recently learned that paraquat caused Plaintiff’s injuries. Prior to this,

Plaintiff did not have knowledge of any facts that would have put him on notice that Plaintiff’s

Parkinson’s Disease was due to Defendants’ product nor has there been widespread media

coverage that put them on notice.

       22.     Plaintiff did not know and was unable to learn of the connection between

Defendants’ product and Plaintiff’s injuries due to the concealment of the information by




                                                  5
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 6 of 48 Page ID #6




Defendants and its ongoing public campaign stating there is no connection between paraquat and

Parkinson’s Disease.5

        23.      Statements that Defendants intended Plaintiff and other members of the public to

rely on when they knew or should have known were either not true or misleading.

    B. Defendants

        24.      SCPLLC is a Delaware limited liability company with its principal place of

business in Greensboro, North Carolina. SCPLLC is a wholly‐owned subsidiary of Defendant

SAG.

        25.      SAG is a foreign corporation with its principal place of business in Basel,

Switzerland.

        26.      CUSA is a Pennsylvania corporation with its principal place of business in San

Ramon, California.

                                       III.    JURISDICTION

        27.      This Court has subject matter jurisdiction over this action because diversity

jurisdiction exists under 28 U.S.C. § 1332(a)(3).

        28.      The matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, because Plaintiff seeks an amount that exceeds this sum or value on each of his claims

against Defendants.

        29.      Complete diversity exists because this is an action between citizens of different

states in which a citizen or subject of a foreign state is an additional party, in that:

              a. Plaintiff is a citizen of the State of Residence;



5 See www.paraquat.com, https://www.paraquat.com/en/safety/safety-humans/paraquat-and-

parkinsons-disease, and https://www.syngenta.com/sites/syngenta/files/pdf/a-review-of-
rviews.pdf (last visited on 10/20/2023).
                                                    6
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 7 of 48 Page ID #7




             b. SCPLLC is a citizen of the States of Delaware and North Carolina;

             c. CUSA is a citizen of the States of Pennsylvania and California; and

             d. SAG is a citizen or subject of the nation of Switzerland.


       30.      This Court has personal jurisdiction over each of the Defendants in this diversity

case because a state court in the States of Exposure would have such jurisdiction, in that:

             a. Over a period of two (Chevron) to six (Syngenta) decades, each Defendant and/or
                its predecessor(s), together with those with whom they were acting in concert,
                manufactured paraquat for use as an active ingredient in paraquat products,
                distributed paraquat to formulators of paraquat products, formulated paraquat
                products, marketed paraquat products to the agricultural community of the States
                of Exposure and/or State of Residence, and/or distributed paraquat products,
                intending that such products regularly would be, and knowing they regularly were,
                sold and used in the States of Exposure and/or State of Residence;

             b. Plaintiff’s claims against each Defendant arise out of these contacts between the
                Defendant and/or its predecessor(s), together with those with whom they were
                acting in concert, with the States of Exposure and/or State of Residence; and

             c. These contacts between each Defendant and/or its predecessors, together with those
                with whom they were acting in concert, and the States of Exposure and/or State of
                Residence , were so regular, frequent, and sustained as to provide fair warning that
                it might be hauled into court there, such that requiring it to defend this action in the
                States of Exposure and/or State of Residence does not offend traditional notions of
                fair play and substantial justice.

                                           IV.     VENUE

       31.      Venue is proper in this district because this Complaint is being filed directly into

MDL No. 3004 in accordance with CMO 1. Should this case be remanded, its proper venue would

be the United States District Court for the Southern District of Illinois under 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to the claim occurred in that

district, in that Plaintiff’s claims arise from injuries caused by the exposure of Plaintiff to paraquat

from paraquat products that were distributed and sold for use in that district, were purchased or




                                                   7
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 8 of 48 Page ID #8




purchased for use in this district, and were being used in this district when the exposures that

caused the injuries occurred.

       32.        The filing of this Complaint in the Southern District of Illinois is not intended as a

waiver of any rights relating to Lexecon, venue, or choice of law. To the contrary, Plaintiff

expressly reserves any Lexecon rights or rights relating to venue or choice of law.

             V.       ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

A. Defendants and their predecessors

       a.         Syngenta Crop Protection LLC and Syngenta AG

       33.        SAG is the successor in interest to the crop‐protection business of each of its

predecessors, AstraZeneca PLC (“AstraZeneca”), Zeneca Group PLC (“Zeneca Group”), ICI PLC,

ICI Limited, and Plant Protection Limited (“PP Limited”) and their respective crop‐protection

subsidiaries (collectively, “SAG’s predecessors”), in that:

             a. SCPLLC, and each of SCPLLC’s predecessors, was the result of a corporate name
                change by, de facto consolidation or merger of, or mere continuation of, its
                immediate predecessor(s); and/or

             b. SCPLLC has expressly or impliedly agreed to assume any liability on claims arising
                from the historical operation of the crop‐protection business of each of SCPLLC’s
                predecessors.

       34.        SCPLLC is the successor in interest to the crop‐protection business of each of its

predecessors, Syngenta Crop Protection, Inc. (“SCPI”), Zeneca Ag Products, Inc. (“Zeneca Ag”),

Zeneca, Inc. (“Zeneca”), ICI Americas, Inc. (“ICIA”), ICI United States, Inc. (“ICI US”), and ICI

America Inc. (“ICI America”) (collectively, “SCPLLC’s predecessors”), in that:

             a. SCPLLC, and each of SCPLLC’s predecessors, was the result of a corporate name
                change by, de facto consolidation or merger of, or mere continuation of, its
                immediate predecessor(s); and/or




                                                    8
  Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 9 of 48 Page ID #9




              b. SCPLLC has expressly or impliedly agreed to assume any liability on claims arising
                 from the historical operation of the crop‐protection business of each of SCPLLC’s
                 predecessors.

        35.      At all relevant times, SCPLLC, SCPI, Zeneca Ag, Zeneca, ICIA, ICI US, and/or

ICI America was a wholly‐owned U.S. crop‐protection subsidiary of SAG or a predecessor of

SAG.

        36.      At all relevant times, PP Limited was a wholly‐owned U.K. crop‐ protection

subsidiary of ICI Limited, an unincorporated division of ICI Limited, or an unincorporated division

of ICI PLC.

        37.      At all relevant times, SAG and its predecessors exercised a degree of control over

their crop‐protection subsidiaries so unusually high that these subsidiaries were their agents or

alter egos.

        b.       Chevron U.S.A., Inc.

        38.      CUSA is the successor in interest to CHEVRON’s crop‐protection business, in that

it has expressly assumed any liability on claims arising from the historical operation of that

business.

    B. Paraquat manufacture, distribution, and sale

        39.      ICI Limited discovered the herbicidal properties of paraquat in the mid‐ 1950s;

developed herbicide formulations containing paraquat as an active ingredient in the early 1960s;

and produced the first commercial paraquat formulation, which it registered it in England and

introduced in certain markets under the brand name GRAMOXONE®, in 1962.

        40.      ICI Limited was awarded a U.S. patent on herbicide formulations containing

paraquat as an active ingredient in 1962.




                                                  9
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 10 of 48 Page ID #10




       41.     In May 1964, ICI Limited, PP Limited, and CHEVRON entered into an agreement

for the distribution of paraquat in the U.S. and the licensing of certain paraquat‐related patents,

trade secrets, and other intellectual property (“paraquat licensing and distribution agreement”).

       42.     As a result of the May 1964 paraquat licensing and distribution agreement, paraquat

became commercially available for use in the U.S. in or about 1965.

       43.     In April 1975, ICI Limited, ICI US, and CHEVRON entered into a new paraquat

licensing and distribution agreement that superseded the May 1964 agreement.

       44.     In November 1981, ICIA, CHEVRON, and ICI PLC entered into a new paraquat

licensing and distribution agreement, effective January 1982, which superseded in part and

amended in part the April 1975 agreement.

       45.     From approximately May 1964 through approximately September 1986, pursuant

to these paraquat licensing and distribution agreements, ICI and CHEVRON acted in concert in

all aspects of the U.S. paraquat business.

       46.     In September 1986, ICI and CHEVRON entered into an agreement terminating

their paraquat licensing and distribution agreement.

       47.     Under the September 1986 termination agreement, ICI paid CHEVRON for the

early termination of CHEVRON’s rights under their paraquat licensing and distribution agreement.

       48.     Although the September 1986 termination agreement gave ICI the right to buy, or

exchange for ICI‐labeled paraquat products, CHEVRON‐labeled paraquat products that

CHEVRON had already sold to its distributors, CHEVRON‐labeled paraquat products continued

to be sold for use in the U.S. after this agreement up and through the year 1989.

       49.     SAG, SAG’s predecessors, and subsidiaries of SAG and its predecessors

(collectively, “SYNGENTA”), have at all relevant times manufactured more paraquat used as an



                                                10
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 11 of 48 Page ID #11




active ingredient in paraquat products formulated and distributed for sale and use in the U.S.,

including the States of Exposure, than all other paraquat manufacturers combined.

       50.      From the mid‐1960s through at least 1986, SYNGENTA (as ICI) was the only

manufacturer of paraquat used as an active ingredient in paraquat products formulated and

distributed for sale and use in the U.S., including the States of Exposure.

       51.      From approximately September 1986 through the present, SYNGENTA has:

             a. manufactured paraquat for use as an active ingredient in paraquat products
                formulated and distributed for sale and use in the U.S., including the States of
                Exposure;

             b. distributed paraquat for use as an active ingredient in paraquat products formulated
                and distributed for sale and use in the U.S., including the States of Exposure;

             c. formulated paraquat products distributed for sale and use in the U.S., including the
                States of Exposure; and

             d. distributed paraquat products for sale and use in the U.S., including the States of
                Exposure.

   C. Paraquat use

       52.      Defendants’ paraquat products have been used in the U.S. to kill broadleaf weeds

and grasses before the planting or emergence of more than 100 field, fruit, vegetable, and

plantation crops, to control weeds in orchards, and to desiccate (dry) plants before harvest. At all

relevant times, the use of Defendants’ paraquat products for these purposes was intended or

directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON.

       53.      Defendants’ paraquat products were commonly used multiple times per year on the

same ground, particularly when used to control weeds in orchards and in farm fields where multiple

crops are planted in the same growing season or year. At all relevant times, the use of Defendants’




                                                 11
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 12 of 48 Page ID #12




paraquat products in this manner was intended or directed by or reasonably foreseeable to, and

was known to or foreseen by, SYNGENTA and CHEVRON.

       54.     Defendants’ paraquat products were typically sold to end users in the form of liquid

concentrates that were then diluted with water in the tank of a sprayer and applied by spraying the

diluted product onto target weeds. At all relevant times, the use of Defendants’ paraquat products

in this manner was intended or directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON.

       55.     Defendants’ paraquat products were typically formulated with a surfactant or

surfactants, and/or a surfactant, surfactant product, or “crop oil,” which typically contains one or

more surfactants, was commonly added by users of Defendants’ products, to increase the ability

of paraquat to stay in contact with and penetrate the leaves of target plants and enter plant cells.

At all relevant times, the use of Defendants’ paraquat products as so formulated and/or with such

substances added was intended or directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON.

       56.     Knapsack sprayers, hand‐held sprayers, aircraft (i.e., crop dusters), trucks with

attached pressurized tanks, and tractor‐drawn pressurized tanks, were commonly used to apply

Defendants’ paraquat products. At all relevant times, the use of such equipment for that purpose

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

SYNGENTA and CHEVRON.

   D. Paraquat exposure

       57.     When Defendants’ paraquat products were used in a manner that was intended and

directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON, persons who used them and others nearby were commonly exposed to paraquat while



                                                12
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 13 of 48 Page ID #13




it was being mixed and loaded into the tanks of sprayers, including as a result of spills, splashes,

and leaks. At all relevant times, it was reasonably foreseeable to, and known to or foreseen by,

SYNGENTA and CHEVRON that such exposure commonly would and did occur and would and

did create a substantial risk of harm to the persons exposed.

       58.     When Defendants’ paraquat products were used in a manner that was intended and

directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON, persons who sprayed them, and others nearby while they were being sprayed or when

they recently had been sprayed, commonly were exposed to paraquat, including as a result of spray

drift (the movement of herbicide spray droplets from the target area to an area where herbicide

application was not intended, typically by wind), contact with sprayed plants and being exposed

by paraquat that was absorbed into the soil and ground water and wells. At all relevant times, it

was reasonably foreseeable to, and known to or foreseen by, SYNGENTA and CHEVRON, that

such exposure commonly would and did occur and would and did create a substantial risk of harm

to the persons exposed.

       59.     When Defendants’ paraquat products were used in a manner that was intended and

directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

CHEVRON, persons who used them and other persons nearby commonly were exposed to

paraquat, including as a result of spills, splashes, and leaks, while equipment used to spray it was

being emptied or cleaned or clogged spray nozzles, lines, or valves were being cleared. At all

relevant times, it was reasonably foreseeable to, and was known to or foreseen by, SYNGENTA

and CHEVRON that such exposure commonly would and did occur and would and did create a

substantial risk of harm to the persons exposed.




                                                   13
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 14 of 48 Page ID #14




       60.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat could and did enter the human body via absorption through or penetration of the skin,

mucous membranes, and other epithelial tissues, including tissues of the mouth, nose and nasal

passages, trachea, and conducting airways, particularly where cuts, abrasions, rashes, sores, or

other tissue damage was present, and that paraquat that entered the human body in one or more of

these ways would and did create a substantial risk of harm to people so exposed.

       61.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat could and did enter the human body via respiration into the lungs, including the deep

parts of the lungs where respiration (gas exchange) occurs, and that paraquat that entered the

human body in this way would and did create a substantial risk of harm to people so exposed.

       62.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat could and did enter the human body via ingestion into the digestive tract of small droplets

swallowed after entering the mouth, nose, or conducting airways, and that paraquat that entered

the human body in this way would and did create a substantial risk of harm to people so exposed.



                                                14
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 15 of 48 Page ID #15




       63.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the human body via ingestion into the digestive tract could and did enter the

enteric nervous system (the part of the nervous system that governs the function of the

gastrointestinal tract), and that paraquat that entered the enteric nervous system would and did

create a substantial risk of harm to people so exposed.

       64.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the human body, whether via absorption, respiration, or ingestion, could and

did enter the bloodstream, and that paraquat that entered the bloodstream would and did create a

substantial risk of harm to people so exposed.

       65.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the bloodstream could and did enter the brain, whether through the blood‐

brain barrier or parts of the brain not protected by the blood‐brain barrier, and that paraquat that

entered the brain would and did create a substantial risk of harm to people so exposed.




                                                 15
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 16 of 48 Page ID #16




       66.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat as a result,

paraquat that entered the nose and nasal passages could and did enter the brain through the

olfactory bulb (a part of the brain involved in the sense of smell), which is not protected by the

blood‐brain barrier, and that paraquat that entered the olfactory bulb would and did create a

substantial risk of harm to people so exposed.

       67.     At all relevant times, it was reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in

a manner that was intended and directed by or reasonably foreseeable to, and was known to or

foreseen by, SYNGENTA and CHEVRON, and people were exposed to paraquat products that

contained surfactants or had surfactants added to them, the surfactants would and did increase the

toxicity of paraquat toxicity to humans by increasing its ability to stay in contact with or penetrate

cells and cellular structures, including but not limited to the skin, mucous membranes, and other

epithelial and endothelial tissues, including tissues of the mouth, nose and nasal passages, trachea,

conducting airways, lungs, gastrointestinal tract, blood‐brain barrier, and neurons, and that this

would and did increase the already substantial risk of harm to people so exposed.

   E. Parkinson’s disease

       68.     Parkinson’s disease is a progressive neurodegenerative disorder of the brain that

affects primarily the motor system, the part of the central nervous system that controls movement.

       69.     The characteristic symptoms of Parkinson’s disease are its “primary” motor

symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia



                                                 16
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 17 of 48 Page ID #17




(slowness in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

movement), and postural instability (impaired balance).

       70.     Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask‐ like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

       71.     Non‐motor symptoms—such as loss of or altered sense of smell; constipation; low

blood pressure on rising to stand; sleep disturbances; and depression—are present in most cases

of Parkinson’s disease, often for years before any of the primary motor symptoms appear.

       72.     There is currently no cure for Parkinson’s disease; no treatment will stop or reverse

its progression, and the treatments most commonly prescribed for its motor symptoms tend to

become progressively less effective, and to cause unwelcome side effects, the longer they are used.

       73.     The selective degeneration and death of dopaminergic neurons (dopamine‐

producing nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”) is

one of the primary pathophysiological hallmarks of Parkinson’s disease.

       74.     Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

       75.     The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

       76.     Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

neurons have died, dopamine production falls below the level the brain requires for proper control

of motor function, resulting in the motor symptoms of Parkinson’s disease.



                                                17
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 18 of 48 Page ID #18




       77.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha‐

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

       78.     Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

       79.     Scientists who study Parkinson’s disease generally agree that oxidative stress is a

major factor in—if not the precipitating cause of—the degeneration and death of dopaminergic

neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons

that are the primary pathophysiological hallmarks of Parkinson’s disease.

   F. Paraquat’s toxicity

       80.     Paraquat is highly toxic to both plants and animals because it causes and contributes

to cause the degeneration and death of living cells in both plants and animals.

       81.     Paraquat causes and contributes to cause the degeneration and death of plant and

animal cells both directly, through oxidation, and indirectly, through oxidative stress created or

aggravated by the “redox cycling” of paraquat; these processes damage lipids, proteins, and nucleic

acids, molecules that are essential components of the structures and functions of living cells, and

interfere with cellular functions—in plant cells, with photosynthesis, and in animal cells, with

cellular respiration—that are essential to cellular health.

       82.     In both plant and animal cells, paraquat undergoes redox cycling that creates or

aggravates oxidative stress because of the “redox properties” inherent in paraquat’s chemical

composition and structure: paraquat is both a strong oxidant and has a high propensity to undergo

redox cycling, and to do so repeatedly, in the presence of a suitable reductant and molecular

oxygen, both of which are present in all living cells.



                                                  18
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 19 of 48 Page ID #19




       83.        The redox cycling of paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can and often does initiate a

cascading series of chemical reactions that can and often do create other reactive oxygen species

that damage lipids, proteins, and nucleic acids, molecules that are essential components of the

structures and functions of living cells.

       84.        Because the redox cycling of paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of paraquat can trigger the production of

countless molecules of destructive superoxide radical. After even a tiny amount of paraquat enters

the human brain, paraquat molecules continue to undergo redox cycling and continue to cause

damage to human brain cells. This repeated cycling continues in the presence of oxygen and

continues to cause the death of dopaminergic neurons, eventually resulting in the onset of

Parkinson’s disease. However, even after the onset of Parkinson’s disease, the redox cycling

continues to cause brain cell damage and death for as long as the victim lives.

       85.        The oxidation and redox potentials of paraquat have been known to science since

at least the 1930s, and in the exercise of ordinary care should have been known, and were known,

to SYNGENTA and CHEVRON at all relevant times.

       86.        That paraquat is highly toxic to all living cells—both plant cells and all types of

animal cells—has been known to science since at least the mid‐1960s, and in the exercise of

ordinary care should have been known, and was known, to SYNGENTA and CHEVRON at all

relevant times.

       87.        The high toxicity of paraquat to living cells of all types creates a substantial risk of

harm to persons exposed to paraquat, which SYNGENTA and CHEVRON should have known in

the exercise of ordinary care, and did know, at all relevant times.



                                                    19
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 20 of 48 Page ID #20




       88.     The same oxidation and redox potentials that make paraquat highly toxic to plant

cells and other types of animal cells make paraquat highly toxic to nerve cells, including

dopaminergic neurons, and create a substantial risk of neurotoxic harm to persons exposed to

paraquat. SYNGENTA and CHEVRON should have known this in the exercise of ordinary care,

and did know this, at all relevant times.

   G. Paraquat and Parkinson’s disease

       89.     The scientific community overwhelmingly agrees that paraquat causes Parkinson’s

disease.

       90.     Although Parkinson’s disease is not known to occur naturally in any species other

than humans, Parkinson’s disease research is often performed using “animal models,” in which

scientists artificially produce in laboratory animals’ conditions that show features characteristic of

Parkinson’s disease in humans.

       91.     Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease.

       92.     In animal models of Parkinson’s disease, hundreds of studies involving various

routes of exposure have found that paraquat causes the degeneration and death of dopaminergic

neurons in the SNpc, other pathophysiology consistent with that seen in human Parkinson’s

disease, and motor deficits and behavioral changes consistent with those commonly seen in human

Parkinson’s disease.

       93.     Hundreds of in vitro studies (experiments in a test tube, culture dish, or other

controlled experimental environment) have found that paraquat causes the degeneration and death

of dopaminergic neurons.




                                                 20
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 21 of 48 Page ID #21




       94.      Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between paraquat exposure and Parkinson’s

disease, including multiple studies finding a two‐ to five‐fold or greater increase in the risk of

Parkinson’s disease in populations with occupational exposure to paraquat compared to

populations without such exposure.

   H. Paraquat regulation

       95.      The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires

that pesticides be registered with the EPA prior to their distribution, sale, or use, except as

described by FIFRA. 7 U.S.C. 136a(a).

       96.      As part of the pesticide registration process, the EPA requires, among other things,

a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non‐target organisms, and other adverse effects on the environment.

       97.      As a general rule, FIFRA requires registrants—not the EPA—to perform health and

safety testing of pesticides, and the EPA generally does not perform such testing.

       98.      The EPA registers (or re‐registers) a pesticide if it believes, based largely on studies

and data submitted by the registrant, that:

             a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
                136a(c)(5)(A);

             b. its labeling and other material required to be submitted comply with the
                requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B);

             c. it will perform its intended function without unreasonable adverse effects on the
                environment, 7 U.S.C. § 136a(c)(5)(C); and

             d. when used in accordance with widespread and commonly recognized practice it
                will not generally cause unreasonable adverse effects on the environment, 7 U.S.C.
                § 136a(c)(5)(D).


                                                  21
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 22 of 48 Page ID #22




       99.       FIFRA defines “unreasonable adverse effects on the environment” as “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

       100.      Under FIFRA, “As long as no cancellation proceedings are in effect registration of

a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply with

the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).

       101.      However, FIFRA further provides that “In no event shall registration of an article

be construed as a defense for the commission of any offense under [FIFRA].” 7 U.S.C. §

136a(f)(2).

       102.      FIFRA further provides that “…it shall be unlawful for any person in any State to

distribute or sell to any person… any pesticide which is… misbranded.” 7 U.S.C. § 136j(a)(1)(E).

       103.      A pesticide is misbranded under FIFRA if, among other things:

              a. its labeling bears any statement, design, or graphic representation relative thereto
                 or to its ingredients which is false or misleading in any particular, 7 U.S.C. §
                 136(q)(1)(A);

              b. the labeling accompanying it does not contain directions for use which are
                 necessary for effecting the purpose for which the product is intended and if
                 complied with, together with any requirements imposed under section 136a(d) of
                 this title, are adequate to protect health and the environment, 7 U.S.C. §
                 136(q)(1)(F); or

              c. the label does not contain a warning or caution statement which may be necessary
                 and if complied with, together with any requirements imposed under section
                 136a(d) of this title, is adequate to protect health and the environment,” 7 U.S.C. §
                 136(q)(1)(G).

       104.      Plaintiff does not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA; accordingly,

any allegation in this complaint that a Defendant breached a duty to provide adequate directions



                                                   22
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 23 of 48 Page ID #23




for the use of paraquat or warnings about paraquat, breached a duty to provide adequate packaging

for paraquat, or concealed, suppressed, or omitted to disclose any material fact about paraquat or

engaged in any unfair or deceptive practice regarding paraquat, is intended and should be construed

to be consistent with that alleged breach, concealment, suppression, or omission, or unfair or

deceptive practice, having rendered the paraquat “misbranded” under FIFRA.

        105.   Plaintiff brings claims and seek relief in this action only under state law. Plaintiff

does not bring any claims or seek any relief in this action under FIFRA.

                   VI.   FRAUDULENT CONCEALMENT AND TOLLING

        106.   Plaintiff did not discover a potential cause of action earlier because Plaintiff had no

reason to suspect that Plaintiff’s contact with Paraquat could cause Plaintiff to suffer Parkinson’s

disease.

        107.   Defendants took active steps to conceal this harmful side effect of Paraquat.

        108.   Indeed, in response to growing concerns regarding the safety of Paraquat, Syngenta

published      a     website    at    www.paraquat.com          and     specifically     the     page

https://www.paraquat.com/en/safety/safety-humans/paraquat-and-parkinsons-disease as well as

https://www.syngenta.com/sites/syngenta/files/pdf/a-review-of-rviews.pdf (all three sites last

visited on October 20, 2023) for the purpose of convincing the public that Paraquat is safe.

        109.   Syngenta’s statements proclaiming the safety of Paraquat and disregarding its

dangers were designed to mislead the agricultural community and the public at large – including

Plaintiff.

        110.   Defendants knew or should have known that Paraquat was a highly toxic substance

that can cause severe neurological injuries and impairment.




                                                 23
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 24 of 48 Page ID #24




        111.      However, despite this knowledge, Defendants continued to promote its product as

safe.

        112.      Defendants did not make this knowledge known to Plaintiff or the general public.

Indeed, Defendants failed to adequately warn and instruct Plaintiff and Plaintiff of a possible

association between Paraquat use and Parkinson’s disease.

        113.      Even today, Syngenta disavows any connection between Paraquat and Parkinson’s

disease.

        114.      Defendants’ acts and omissions were a legal, proximate, and substantial factor in

causing Plaintiff to suffer severe and permanent physical injuries, pain, mental anguish, and

disability, as well as economic loss, and will continue to do so for the remainder of Plaintiff’s life.

        115.      All applicable statutes of limitations have been tolled by Defendants’ knowing and

active fraudulent concealment and denial of the facts alleged herein throughout the time period

relevant to this action.

           VII.    ALLEGATIONS COMMON TO SPECIFIC CAUES OF ACTION6

    A. Strict Product Liability – Design Defect

        116.      At all relevant times, Defendants and those with whom they were acting in concert

were engaged in the business of designing, manufacturing, and selling paraquat within the U.S.




6 When used in an allegation in section VII or VIII of this Complaint, where the name of the party

is not specified: (1) “Defendant” refers to the Defendant or Defendants from whom relief is sought
in the Count in which the allegation appears or is incorporated and/or the predecessors of that
Defendant or those Defendants; and (2) “Plaintiff” refers to the Plaintiff seeking relief in the Count
in which the allegation appears or is incorporated, where the Count seeks damages for personal
injuries.
                                                  24
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 25 of 48 Page ID #25




       117.     At all relevant times, Defendants and those with whom they were acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the States of

Exposure.7

       118.     Defendants and those with whom they were acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

and developed, registered, formulated and distributed Defendants’ paraquat products for sale and

use in the U.S., including the States of Exposure.

       119.     Upon information and belief, for many years, Plaintiff used and/or was exposed to

Defendants’ paraquat products in the States of Exposure repeatedly and regularly for hours at a

time, resulting in the repeated, regular, and prolonged exposure of Plaintiff to paraquat.

       120.     At all relevant times, Defendants’ paraquat products were in a defective condition

that made them unreasonably dangerous when used in a manner that was intended or directed by

or reasonably foreseeable to, and was known to or foreseen by, Defendants and those with whom

they were acting in concert, in that:

             a. they were designed, manufactured, formulated, and packaged such that when so
                used, paraquat was likely to be inhaled, ingested, and absorbed into the bodies of
                persons who used them, were nearby while they were being used, or entered fields
                or orchards where they had been sprayed or areas near where they had been sprayed;
                and

             b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
                nearby while they were being used, or entered fields or orchards where they had
                been sprayed or areas near where they had been sprayed, paraquat was likely to
                cause or contribute to cause latent, permanent, and cumulative neurological
                damage, and repeated exposures were likely to cause or contribute to cause


7 When used in an allegation in section VII or VIII of this Complaint, “Defendants’ paraquat

products”: (1) refers to ICI‐CHEVRON paraquat products and/or ICI‐SYNGENTA paraquat
products when the allegation appears or is incorporated in a Count directed to SCPLLC and
SAG; refers only to ICI‐ CHEVRON paraquat products when the allegation appears or is
incorporated in a Count directed to CUSA.

                                                 25
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 26 of 48 Page ID #26




                clinically significant neurodegenerative disease, including Parkinson’s disease, to
                develop over time and manifest long after exposure.

       121.     At all relevant times, this defective condition in Defendants’ paraquat products

existed when they left the control of Defendants and those with whom they were acting in concert

and were placed into the stream of commerce.

       122.     At all relevant times, Defendants and those with whom they were acting in concert

knew or foresaw that this defective condition of Defendants’ paraquat products would create a

substantial risk of harm to persons who used them, were nearby while they were being used, or

entered fields or orchards where they had been sprayed or areas near where they had been sprayed,

but in conscious disregard for the safety of others, including Plaintiff, continued to place them into

the stream of commerce.

       123.     As a result of this defective condition, Defendants’ paraquat products either failed

to perform in the manner reasonably to be expected in light of their nature and intended function,

or the magnitude of the dangers outweighed their utility.

       124.     At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants and those with whom they were acting in concert.

       125.     At all relevant times, Defendants concealed the defective condition of their product

from Plaintiff thus preventing Plaintiff from discovering the causal link between Plaintiff’s injury

and paraquat.

   B. Strict Product Liability – Failure to Warn

       126.     At all relevant times, Defendants and those with whom it was acting in concert were

engaged in the U.S. paraquat business.




                                                 26
Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 27 of 48 Page ID #27




       127.    At all relevant times, Defendants and those with whom they were acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the States of

Exposure.

       128.    Defendants and those with whom they were acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

and developed, registered, formulated and distributed Defendants’ paraquat products for sale and

use in the U.S., including the States of Exposure.

       129.    For many years, Plaintiff used and/or was exposed to Defendants’ paraquat

products in the States of Exposure repeatedly and regularly for hours at a time, resulting in the

repeated, regular, and prolonged exposure of Plaintiff to paraquat.

       130.    At all relevant times, Defendants and those with whom they were acting in concert

should have known in the exercise of ordinary care, and did know, that when used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants and those with whom they were acting in concert:

            a. Defendants’ paraquat products were designed, manufactured, formulated, and
               packaged such that when so used, paraquat was likely to be inhaled, ingested, and
               absorbed into the bodies of persons who used them, were nearby while they were
               being used, or entered fields or orchards where they had been sprayed or areas near
               where they had been sprayed; and

            b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
               nearby while they were being used, or entered fields or orchards where they had
               been sprayed or areas near where they had been sprayed, paraquat was likely to
               cause or contribute to cause latent, cumulative, and permanent neurological
               damage, and repeated exposures were likely to cause or contribute to cause
               clinically significant neurodegenerative disease, including Parkinson’s disease, to
               develop over time and manifest long after exposure.

       131.    At all relevant times, Defendants’ paraquat products were in a defective condition

that made them unreasonably dangerous when used in a manner that was intended or directed by



                                                27
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 28 of 48 Page ID #28




or reasonably foreseeable to, and was known to or foreseen by, Defendants and those with whom

they were acting in concert, in that:

           a. they were not accompanied by directions for use that would have made paraquat
              unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used
              them, were nearby while they were being used, or entered fields or orchards where
              they had been sprayed or areas near where they had been sprayed; and

           b. they were not accompanied by a warning that when inhaled, ingested, or absorbed
              into the bodies of persons who used them, were nearby while they were being used,
              or entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed, paraquat was likely to cause or contribute to cause latent,
              cumulative, and permanent neurological damage, and that repeated exposures were
              likely to cause or contribute to cause clinically significant neurodegenerative
              disease, including Parkinson’s disease, to develop over time and manifest long after
              exposure.

       132.    At all relevant times, this defective condition in Defendants’ paraquat products

existed when they left the control of Defendants and those with whom they were acting in concert

and were placed into the stream of commerce.

       133.    At all relevant times, Defendants and those with whom they were acting in concert

knew this defective condition of Defendants’ paraquat products created a substantial risk of harm

to persons who used them, were nearby while they were being used, or entered fields or orchards

where they had been sprayed or areas near where they had been sprayed, but in conscious disregard

for the safety of others, including Plaintiff, continued to place them into the stream of commerce.

       134.    As a result of this defective condition, Defendants’ paraquat products either failed

to perform in the manner reasonably to be expected in light of their nature and intended function,

or the magnitude of the dangers outweighed their utility.

       135.    At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants and those with whom they were acting in concert.



                                                28
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 29 of 48 Page ID #29




       136.    At all relevant times, Defendants’ concealed the defective condition of their product

from Plaintiff thus preventing Plaintiff from discovering the causal link between their injury and

paraquat.

   C. Negligence

       137.    At all relevant times, Defendants and those with whom they were acting in concert

were engaged in the U.S. paraquat business.

       138.    At all relevant times, Defendants and those with whom they were acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the States of

Exposure.

       139.    Defendants and those with whom they were acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

and developed, registered, formulated and distributed Defendants’ paraquat products for sale and

use in the U.S., including the States of Exposure.

       140.    Upon information and belief, for many years, Plaintiff used and/or was exposed to

Defendants’ paraquat products in the States of Exposure repeatedly and regularly for hours at a

time, resulting in the repeated, regular, and prolonged exposure of Plaintiff to paraquat.

       141.    At all relevant times, in designing, manufacturing, and distributing paraquat for use

in formulating paraquat products and in designing, formulating, packaging, labeling, and

distributing paraquat products, Defendants and those with whom they were acting in concert owed

a duty to exercise ordinary care for the health and safety of persons, including Plaintiff, whom it

was reasonably foreseeable could be exposed to paraquat in such products.

       142.    When Defendants and those with whom they were acting in concert designed,

manufactured, and distributed paraquat for use in formulating Defendants’ paraquat products and



                                                 29
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 30 of 48 Page ID #30




designed, formulated, packaged, labeled, and distributed Defendants’ paraquat products, it was

reasonably foreseeable and in the exercise of ordinary care Defendant should have known, and

Defendant did know, that when Defendants’ paraquat products were used in a manner that was

intended or directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants

and those with whom they were acting in concert:

           a. they were designed, manufactured, formulated, and packaged such that paraquat
              was likely to be inhaled, ingested, and absorbed into the bodies of persons who used
              them, were nearby while they were being used, or entered fields or orchards where
              they had been sprayed or areas near where they had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
              nearby while they were being used, or entered fields or orchards where they had
              been sprayed or areas near where they had been sprayed, paraquat was likely to
              cause or contribute to cause latent, cumulative, and permanent neurological
              damage, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including Parkinson’s disease, to
              develop over time and manifest long after exposure.

       143.    In breach of their duty to Plaintiff, Defendants and those with whom they were

acting in concert negligently, and in conscious disregard for the safety of others:

           a. failed to design, manufacture, formulate, and package Defendants’ paraquat
              products to make paraquat unlikely to be inhaled, ingested, and absorbed into the
              bodies of persons who used them, were nearby while they were being used, or
              entered fields or orchards where they had been sprayed or areas near where they
              had been sprayed;

           b. designed and manufactured paraquat and designed and formulated Defendants’
              paraquat products such that when inhaled, ingested, or absorbed into the bodies of
              persons who used Defendants’ paraquat products, were nearby while they were
              being used, or entered fields or orchards where they had been sprayed or areas near
              where they had been sprayed, paraquat was likely to cause or contribute to cause
              latent, cumulative, and permanent neurological damage, and repeated exposures
              were likely to cause or contribute to cause clinically significant neurodegenerative
              disease, including Parkinson’s disease, to develop over time and manifest long after
              exposure;

           c. failed to perform adequate testing to determine the extent to which exposure to
              paraquat was likely to occur through inhalation, ingestion, and absorption into the
              bodies of persons who used Defendants’ paraquat products, were nearby while they


                                                 30
Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 31 of 48 Page ID #31




          were being used, or entered fields or orchards where they had been sprayed or areas
          near where they had been sprayed;

       d. failed to perform adequate testing to determine the extent to which spray drift from
          Defendants’ paraquat products was likely to occur, including their propensity to
          drift, the distance they were likely to drift, and the extent to which paraquat spray
          droplets were likely to enter the bodies of persons spraying Defendants’ paraquat
          products or nearby during or after spraying;

       e. failed to perform adequate testing to determine the extent to which paraquat, when
          inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
          paraquat products, were nearby while they were being used, or entered fields or
          orchards where they had been sprayed or areas near where they had been sprayed,
          was likely to cause or contribute to cause latent, cumulative, and permanent
          neurological damage, and the extent to which repeated exposures were likely to
          cause or contribute to cause clinically significant neurodegenerative disease,
          including Parkinson’s disease, to develop over time and manifest long after
          exposure;

       f. failed to perform adequate testing to determine the extent to which paraquat, when
          formulated or mixed with surfactants or other pesticides or used along with other
          pesticides, and inhaled, ingested, or absorbed into the bodies of persons who used
          Defendants’ paraquat products, were nearby while they were being used, or entered
          fields or orchards where they had been sprayed or areas near where they had been
          sprayed, was likely to cause or contribute to cause latent, cumulative, and
          permanent neurological damage, and the extent to which repeated exposures were
          likely to cause or contribute to cause clinically significant neurodegenerative
          disease, including Parkinson’s disease, to develop over time and manifest long after
          exposure;

       g. failed to direct that Defendants’ paraquat products be used in a manner that would
          have made it unlikely for paraquat to have been inhaled, ingested, and absorbed
          into the bodies of persons who used them, were nearby while they were being used,
          or entered fields or orchards where they had been sprayed or areas near where they
          had been sprayed; and

       h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons
          who used Defendants’ paraquat products, were nearby while they were being used,
          or entered fields or orchards where they had been sprayed or areas near where they
          had been sprayed, paraquat was likely to cause or contribute to cause latent,
          cumulative, and permanent neurological damage, and repeated exposures were
          likely to cause or contribute to cause clinically significant neurodegenerative
          disease, including Parkinson’s disease, to develop over time and manifest long after
          exposure.




                                            31
Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 32 of 48 Page ID #32




       144.    At all relevant times, Defendants’ paraquat products were used in a manner that

was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

Defendants and those with whom they were acting in concert.

       145.    At all relevant times, Defendants concealed the dangers of their product as listed

above from Plaintiff thus preventing Plaintiff from discovering the causal link between Plaintiff’s

injury and paraquat.

   D. Breach of Express Warranties and Implied Warranty of Merchantability

       146.    At all relevant times, Defendants and those with whom they were acting in concert

were engaged in the U.S. paraquat business.

       147.    At all relevant times, Defendants and those with whom they were acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the States of

Exposure.

       148.    Defendants and those with whom they were acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

and developed, registered, formulated and distributed Defendants’ paraquat products for sale and

use in the U.S., including the States of Exposure.

       149.    Plaintiff used and/or was exposed to Defendants’ paraquat products in the States of

Exposure repeatedly and regularly for hours at a time, resulting in the repeated, regular, and

prolonged exposure of Plaintiff to paraquat.

       150.    At the time of each sale of Defendants’ paraquat products that resulted in Plaintiff’s

exposure to paraquat, Defendants and those with whom they were acting in concert made express

warranties and/or impliedly warranted that that Defendants’ paraquat products were of




                                                32
Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 33 of 48 Page ID #33




merchantable quality, including that they were fit for the ordinary purposes for which such goods

were used.

       151.     Defendants and those with whom they were acting in concert breached this

warranty as to each sale of Defendants’ paraquat products that resulted in Plaintiff’s exposure to

paraquat, in that Defendants’ paraquat products were not of merchantable quality because they

were not fit for the ordinary purposes for which such goods were used, and in particular:

             a. they were designed, manufactured, formulated, and packaged such that paraquat
                was likely to be inhaled, ingested, and absorbed into the bodies of persons who used
                them, were nearby while they were being used, or entered fields or orchards where
                they had been sprayed or areas near where they had been sprayed; and

             b. when inhaled, ingested, or absorbed into the bodies of persons who used
                Defendants’ paraquat products, were nearby while they were being used, or entered
                fields or orchards where they had been sprayed or areas near where they had been
                sprayed, paraquat was likely to cause or contribute to cause latent, cumulative, and
                permanent neurological damage, and repeated exposures were likely to cause or
                contribute to cause clinically significant neurodegenerative disease, including
                Parkinson’s disease, to develop over time and manifest long after exposure.

   E. Fraudulent Misrepresentation
       152.     At all relevant times, Defendants and those with whom they were acting in concert

were engaged in the U.S. paraquat business.

       153.     At all relevant times, Defendants and those with whom they were acting in concert

intended and expected that Defendants’ paraquat products would be sold and used in the States of

Exposure.

       154.     Defendants and those with whom they were acting in concert developed, registered,

manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

and developed, registered, formulated and distributed Defendants’ paraquat products for sale and

use in the U.S., including the States of Exposure.




                                                 33
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 34 of 48 Page ID #34




          155.   Plaintiff used and/or was exposed to Defendants’ paraquat products in the States of

Exposure repeatedly and regularly for hours at a time, resulting in the repeated, regular, and

prolonged exposure of Plaintiff to paraquat.

          156.   At the time of each sale of Defendants’ paraquat products that resulted in Plaintiff’s

exposure to paraquat, Defendants and those with whom they were acting in concert fraudulently

represented that paraquat products pose no risk to human safety.

          157.   Defendants and those with whom they were acting in concert knew or should have

been aware of the dangers posed to humans by coming in contact with Defendants’ paraquat

products.

          158.   Defendants and those with whom they were acting in concert fraudulently

misrepresented the safety of Defendants’ paraquat products because they posed a significant risk

to humans, to wit causing the degeneration and death of dopaminergic neurons in the SNpc and

the onset of Parkinson’s disease.

                                     COUNT 1
                                 ALL DEFENDANTS
                     STRICT PRODUCT LIABILITY – DESIGN DEFECT

          159.   Plaintiff incorporates by reference paragraph 1 through 158 as if fully restated

herein.

          160.   Defendants designed, manufactured, marketed, and sold their paraquat products

that were used by Plaintiff and/or that Plaintiff was exposed to, and Defendants were in the

business of selling their paraquat products.

          161.   Defendants’ paraquat products were in an unsafe, defective, and unreasonably

dangerous condition at the time they left Defendants’ possession because of their design. In

particular, Defendants’ paraquat products were defectively designed because they caused serious



                                                  34
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 35 of 48 Page ID #35




injuries and death, including but not limited to the degeneration and death of dopaminergic neurons

in the SNpc and the onset of Parkinson’s disease.

          162.   Defendants’ paraquat products are unreasonably dangerous as designed because

they do not perform safely as an ordinary consumer, including Plaintiff, would expect when used

in an intended or reasonably foreseeable manner.

          163.   Defendants’ paraquat products are unreasonably dangerous as designed because the

danger inherent in their design outweighs the benefits of that design.

          164.   Defendants caused their paraquat products to enter the stream of commerce and to

be sold to consumers, including Plaintiff and/or individuals working near Plaintiff, through a

variety of channels.

          165.   Defendants’ paraquat products were expected to, and did, reach consumers,

including Plaintiff and/or individuals working near Plaintiff, without substantial change in the

condition in which those products were manufactured and sold or otherwise released into the

stream of commerce by Defendants.

          166.   Plaintiff used and/or was exposed to the Defendants’ paraquat products in the

ordinary and expected manner it was intended, recommended, promoted, and marketed by

Defendants.

          167.   Defendants knew or should have known that their products were in a defective

condition as a result of their design and were unreasonably dangerous when used in an intended

or reasonably foreseeable manner.

          168.   By reason of the foregoing, Defendants are liable to Plaintiff for all of his injuries,

harm, damages, and economic and non-economic losses in an amount to be determined in the

future.



                                                   35
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 36 of 48 Page ID #36




                                    COUNT 2
                                ALL DEFENDANTS
                   STRICT PRODUCT LIABILITY – FAILURE TO WARN

          169.   Plaintiff incorporates by reference paragraph 1 through 168 as if fully restated

herein.

          170.   Defendants designed, manufactured, marketed, and sold their paraquat products

that were used by Plaintiff and/or that Plaintiff was exposed to, and Defendants were in the

business of selling paraquat products.

          171.   Defendants’ paraquat products were in an unsafe, defective, and unreasonably

dangerous condition at the time they left Defendants’ possession because they were not

accompanied by adequate warnings.

          172.   In particular, Defendants knew or should have known that their paraquat products

could cause serious injuries and death when used in an intended or reasonably foreseeable manner,

including but not limited to the degeneration and death of dopaminergic neurons in the SNpc and

the onset of Parkinson’s disease. Defendants failed to give appropriate and adequate warning of

such risks. In fact, Defendants continue to this day to market and sell their products to consumers

without adequate warnings of the risks associated with their use.

          173.   If Defendants had warned Plaintiff that use of and exposure to their paraquat

products as intended would increase the risk of being seriously injured, including but not limited

to the degeneration and death of dopaminergic neurons in the SNpc and the onset of Parkinson’s

disease, Plaintiff would not have used their paraquat products.

          174.   Defendants caused their paraquat products to enter the stream of commerce and to

be sold and used by consumers, including Plaintiff and/or individuals working near Plaintiff,

through a variety of channels.



                                                36
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 37 of 48 Page ID #37




          175.   Defendants’ paraquat products were expected to, and did, reach consumers and

users, including Plaintiff and/or individuals working with Plaintiff, without substantial change in

the condition in which their paraquat products were manufactured and sold or otherwise released

into the stream of commerce by Defendants.

          176.   Plaintiff used and/or was exposed to the Defendants’ paraquat products for the

purposes and in the manner intended, recommended, promoted, and marketed by Defendants.

          177.   By reason of the foregoing, Defendants are liable to Plaintiff for all of his injuries,

harm, damages, and economic and non-economic losses in an amount to be determined in the

future

                                            COUNT 3
                                        ALL DEFENDANTS
                                          NEGLIGENCE

          178.   Plaintiff incorporates by reference paragraph 1 through 177 as if fully restated

herein.

          179.   At all relevant times, Defendants had a duty to exercise reasonable care in the

manufacturing, designing, researching, testing, producing, supplying, inspecting, marketing,

labeling, packaging, selling, and distributing of their paraquat products.

          180.   Defendants’ duty to exercise reasonable care in the advertising and sale of their

paraquat products included a duty to warn Plaintiff and other consumers such as individuals

working near Plaintiff of the risks and dangers associated with their paraquat products that were

known or should have been known to Defendants at the time of the sale of their products to Plaintiff

and their employers.

          181.   Defendants also owed a continuing duty to Plaintiff to remove or recall, the unsafe

and/or defective paraquat products across the United States (including the States of Exposure). At



                                                   37
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 38 of 48 Page ID #38




all relevant times, Defendants knew or should have known through the exercise of reasonable care

of the dangers associated with the normal and/or intended use of their paraquat products.

       182.    At all relevant times, Defendants knew, or should have known through the exercise

of reasonable care, that ordinary consumers such as individuals working near Plaintiff would not

realize the potential risks and dangers of their paraquat products.

       183.    Defendants breached their duty of care by manufacturing, designing, researching,

testing, producing, supplying, inspecting, marketing, selling, and/or distributing of their paraquat

products negligently, recklessly, and/or with extreme carelessness and by failing to adequately

warn of the risks and dangers of their paraquat products as described in the allegations above. Such

breaches include but are not limited to:

           a. Failing to warn consumers of the risks and dangers associated with the use of their
              paraquat products;

           b. Failing to properly test their paraquat products to determine the adequacy or
              effectiveness of safety measures, if any, prior to releasing their paraquat products
              for consumer use;

           c. Failing to properly test their paraquat products to determine the increased risk of
              harm during the normal and/or intended use of their paraquat products;

           d. Designing their paraquat products defectively such that they caused serious injuries
              or death when used in their intended and reasonably foreseeable manner;

           e. Failing to inform consumers as to the safe and proper methods of handling and
              using their paraquat products;

           f. Failing to remove or recall their paraquat products from the market when
              Defendants knew or should have known their paraquat products were defective
              and/or dangerous;

           g. Marketing and labeling their paraquat products as safe when Defendants knew or
              should have known their paraquat products were defective and/or dangerous;

           h. Claiming in labeling and marketing that their paraquat products are safe; and




                                                 38
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 39 of 48 Page ID #39




             i. Failing to act like a reasonably prudent company under similar circumstances. Each
                of these acts and omissions, taken singularly or in combination, were a proximate
                cause of the injuries and damages sustained by Plaintiff.

          184.   Defendants knew or should have known that consumers and users such as

individuals working near Plaintiff would foreseeably suffer injuries as a result of Defendants’

failure to exercise ordinary care as described herein.

          185.   Due to Defendants failure to exercise ordinary care or comply with their duties of

selling these products, Plaintiff was not able to discover the dangerous nature of Defendants’

paraquat products.

          186.   By reason of the foregoing, Defendants are liable to Plaintiff for all of his injuries,

harm, damages, and economic and non-economic losses in an amount to be determined in the

future.

                                 COUNT 4
                             ALL DEFENDANTS
          BREACH OF EXPRESS WARRANTIES AND IMPLIED WARRANTY OF
                            MERCHANTABILITY

          187.   Plaintiff incorporates by reference paragraph 1 through 186 as if fully restated

herein.

          188.   Defendants are in the business of manufacturing, supplying, marketing, advertising,

warranting, and/or selling paraquat products.

          189.   Defendants expressly represented and warranted to Plaintiff and the general public,

through statements made by Defendants or their authorized agents in direct-to-consumer

marketing, advertisements, and labels, that their paraquat products were safe and effective for their

reasonably expected and intended use.




                                                   39
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 40 of 48 Page ID #40




       190.    Defendants’ warranties included but are not limited to the warranties that their

paraquat products are safe, including but not limited to the marketing assertions quoted and

displayed in the facts alleged above.

       191.    These and other (mis)representations were made directly by the manufacturer or

seller to consumers and end users of Defendants’ paraquat products, constitute express warranties,

and became part of the basis of the bargain between the parties and created a collective express

warranty that their paraquat products would conform to Defendants’ affirmations and promises.

       192.    Defendants breached their express warranties about their paraquat products and

their qualities because Defendants’ statements about their paraquat products’ safety were false and

their paraquat products did not conform to those affirmations and promises. Defendants’ paraquat

products were not safe, but rather exposed Plaintiff and other consumers to unreasonable risks of

adverse health effects including the degeneration and death of dopaminergic neurons in the SNpc

and the onset of Parkinson’s Disease.

       193.    At the time Plaintiff used and/or was exposed to Defendants’ paraquat products,

Defendants knew or should have known that Plaintiff would detrimentally rely on Defendants’

misrepresentations regarding safety.

       194.    Plaintiff used and/or was exposed to Defendants’ paraquat products reasonably

relying upon Defendants’ warranties.

       195.    Plaintiff used and/or was exposed to Defendants’ paraquat products for the purpose

and in the manner intended by Defendants.

       196.    Plaintiff could not have discovered the breached warranties or realized Defendants’

paraquat products’ danger through the use of reasonable care.




                                                40
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 41 of 48 Page ID #41




          197.   Plaintiff would not have exposed himself to Defendants’ Paraquat containing

products if he had known the truth about the misrepresentations described above, or that

Defendants’ paraquat products were unfit for ordinary use or their particular purpose.

          198.   The breach of the warranties was a substantial factor in bringing about Plaintiff’s

injuries.

          199.   Defendants’ failure to tender their paraquat products to Plaintiff free of defects

constitutes a breach of the written warranties covering their paraquat products.

          200.   Defendants are on notice of their defective paraquat products, yet Defendants have

failed to cure the damage resulting therefrom within a reasonable time.

          201.   Defendants’ breach of warranties was a substantial factor in bringing about

Plaintiff’s injuries.

          202.   By reason of the foregoing, Defendants are liable to Plaintiff for all of his injuries,

harm, damages, and economic and non-economic losses in an amount to be determined in the

future.

                                       COUNT 5
                                   ALL DEFENDANTS
                            FRAUDULENT MISREPRESENTATION

          203.   Plaintiff incorporates by reference paragraph 1 through 202 as if fully restated

herein.

          204.   Defendants, who engaged in the development, manufacture, marketing, sale, and/or

distribution of paraquat products, owed a duty to Plaintiff and other consumers to provide accurate

and complete information.

          205.   Defendants knew or should have known that their paraquat products significantly

increase the risk of Parkinson’s Disease and other negative health conditions such as the



                                                   41
    Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 42 of 48 Page ID #42




degeneration and death of dopaminergic neurons in the SNpc from the evolving scientific literature

and research over the past decades, yet, Defendants willfully deceived consumers by concealing

these facts from them, which Defendants had a duty to disclose.

         206.    In addition to monitoring the evolving scientific literature, Defendants were or

should have been testing their paraquat products to ensure they were not harmful to consumers

when used in their intended manner.

         207.    At all relevant times, Defendants conducted sales and marketing campaigns that

willfully deceived consumers as to the benefits, health risks and consequences of using

Defendants’ paraquat products, to wit:

             a. “There is no risk to human safety with the use of paraquat”;8

             b. “Paraquat does not cause Parkinson’s disease”;9 and

             c. “Paraquat cannot readily be absorbed through the skin.”10

         208.    Defendants knowingly, falsely, deceptively, and inaccurately designated and

represented that their paraquat products were safe, with the intent to mislead and deceive

consumers including Plaintiff or individuals working near Plaintiff.

         209.    Defendants fraudulently misrepresented the use of their paraquat products as safe,

including but not limited to the marketing assertions quoted and displayed in the facts alleged

above. Defendants willfully and intentionally failed to disclose and concealed material facts and

made false representations regarding the dangers and safety concerns of their paraquat products.

         210.    Defendants concealed and suppressed the true facts concerning their paraquat

products.



8
  https://www.paraquat.com/en/safety/safety-humans (last visited Oct. 21, 2023)
9
  Id.
10
   Id.

                                                        42
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 43 of 48 Page ID #43




          211.   Defendants knew that these misrepresentations and/or omissions were material, and

that they were false, incomplete, misleading, deceptive, and/or deceitful when they were made.

          212.   Defendants made the misrepresentations and/or omissions for the purpose of

deceiving and defrauding consumers, including Plaintiff, with the intention of having them act and

rely on such misrepresentations and/or omissions.

          213.   Consumers, such as Plaintiff relied, with reasonable justification, on the

misrepresentations by Defendants, which induced them to use Defendants’ paraquat products,

sometimes on a regular basis for decades. Consumers, such as Plaintiff, did not know about safety

concerns with Defendants’ paraquat products at the time Defendants made their misrepresentations

and/or omissions, and consumers did not discover the true facts until after using Defendants’

paraquat products, nor could they have done so with reasonable diligence. Had consumers such as

Plaintiff known the true facts, they would not have exposed themselves to Defendants’ paraquat

products.

          214.   Defendants profited significantly from their unlawful conduct that fraudulently

induced consumers to use the dangerous and defective paraquat products.

          215.   Consumers, including Plaintiff, required, and should have been provided with,

truthful, accurate, and correct information concerning the safety of Defendants’ paraquat products.

          216.   By reason of the foregoing, Defendants are liable to Plaintiff for all of his injuries,

harm, damages, and economic and non-economic losses in an amount to be determined in the

future.

                            COUNT 6
                        ALL DEFENDANTS
  VIOLATION OF CONSUMER PROTECTION AND UNFAIR TRADE PRACTICES
                              ACT




                                                   43
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 44 of 48 Page ID #44




          217.   Plaintiff incorporates by reference paragraph 1 through 216 as if fully restated

herein.

          218.   Defendants engaged in consumer-oriented, consumer commerce and trade,

including advertising, offering for sale, sale or distribution of tangible or personal property by

selling, distributing and/or advertising paraquat products.

          219.   Defendants have violated Consumer Protection Act Laws in the States of Exposure

and the State of Residence.

          220.   The paraquat products were purchased and used primarily for the personal use of

Plaintiff and/or the personal use of individuals working with or near Plaintiff. Defendants’ sale of

paraquat products and conduct in connection with their sale of             paraquat products was

impermissible and illegal in violation of the applicable Consumer Protection Acts in that

Defendants engaged in unfair or deceptive acts or practices by engaging in fraudulent or deceptive

conduct which created a likelihood of confusion or of misunderstanding, because Defendants

misleadingly, falsely, unconscionably and/or deceptively misrepresented and/or omitted material

facts regarding, among other things, the safety of the paraquat products by failing to disclose the

risk of Parkinson’s disease thereto from using the paraquat products in a manner foreseeable and/or

intended by Defendants. Defendants’ conduct violated the applicable Consumer Protection Acts

and caused Plaintiff an ascertainable loss.

          221.   Defendants were or should have been in possession of evidence demonstrating that

the paraquat products caused and/or have the potential to cause Parkinson’s disease.

Nevertheless, Defendants continued to market, sell and distribute the paraquat products without

disclosing the above information regarding the paraquat products. As a result, Plaintiff was not

warned of the potential injuries from using or being exposed to the paraquat products and she



                                                 44
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 45 of 48 Page ID #45




continued to use the paraquat products and/or exposed himself to Paraquat products and suffered

ascertainable loss.

          222.   As a result of Defendants’ violations of the Consumer Protection Act in the States

of Exposure and State of Residence, Plaintiff was misled about the unreasonably dangerous and

defective characteristics of the paraquat products and suffered severe and permanent

ascertainable losses, including but not limited to, Parkinson’s disease. Plaintiff endured

substantial pain and suffering and incurred significant monetary expenses for medical care and

treatment.

          223.   Defendants’ action and inaction described above were performed willfully,

intentionally and/or with reckless disregard for the rights and safety of Plaintiff and the public,

entitling Plaintiff to actual and treble damages.

          224.   By reason of the foregoing, Defendants are liable to Plaintiff for all of his injuries,

harm, damages, and economic and non-economic losses in an amount to be determined in the

future.

                                        COUNT 7
                            JOYCE HALFORD VS. ALL DEFENDANTS
                                  LOSS OF CONSORTIUM


          225.   Plaintiff incorporates by reference paragraph 1 through 224 as if fully restated

herein.

          226.   Plaintiff-Spouse, Joyce Halford, is and was at all relevant times the wife of Plaintiff,

Bradley Halford, and as such, is entitled to his society, companionship, and services.

          227.   By reason of the Defendants' carelessness, negligence, gross negligence,

recklessness, outrageousness, and strict liability, as fully set forth above and incorporated by

reference as though fully set forth herein, Plaintiff-Spouse Joyce Halford has suffered the loss of


                                                    45
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 46 of 48 Page ID #46




consortium and has been deprived of her husband’s love, companionship, comfort, affection,

society, moral guidance, intellectual strength and physical assistance and the loss of the assistance

and earnings of plaintiff-husband.

          228.   As a direct and proximate result of Defendants’ conduct, Plaintiff-Spouse Joyce

Halford suffered the injuries described above.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment against Defendants on each of the above-

referenced.

          A.     Awarding compensatory damages, including, but not limited to pain, suffering,

emotional distress, loss of enjoyment of life, and other non-economic damages in an amount to be

determined at trial of this action;

          B.     Awarding economic damages in the form of medical expenses, out of pocket

expenses, lost earnings, and other economic damages in an amount to be determined at trial of this

action;

          C.     Awarding damages and/or equitable relief to provide medical monitoring for the

early detection, diagnosis, and treatment of injuries related to the products and prevention of

exacerbation of such injuries;

          D.     Punitive and/or exemplary damages for the wanton, willful, fraudulent, reckless

acts of the Defendants who demonstrated a complete disregard and reckless indifference for the

safety and welfare of the general public and Plaintiff in an amount sufficient to punish Defendants

and deter future similar conduct;

          E.     Statutory damages including treble damages;

          F.     Prejudgment interest;



                                                 46
Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 47 of 48 Page ID #47




      G.     Post judgment interest;

      H.     Awarding Plaintiff reasonable attorneys’ fees;

      I.     Awarding Plaintiff the costs of these proceedings; and

      J.     Such other and further relief as this Court deems just and proper.




                                                Respectfully submitted,

                                                /s/ Lawrence R. Cohan
                                                Lawrence R. Cohan, Esq.
                                                Joshua C. Cohan, Esq.
                                                Rayna McCarthy, Esq
                                                SALTZ MONGELUZZI BENDESKY P.C.
                                                One Liberty Place 1650 Market St, 52nd
                                                Floor Philadelphia, PA 19103
                                                lcohan@smbb.com
                                                jcohan@smbb.com
                                                rmcarthy@smbb.com
                                                (215) 575-3887 (Phone)
                                                (215) 496-0999 (Fax)

                                                Counsel for Plaintiff



Dated: March 22, 2024.




                                              47
 Case 3:24-pq-00843-NJR Document 1 Filed 03/22/24 Page 48 of 48 Page ID #48




                                 DEMAND FOR JURY TRIAL

        Pursuant to FED. R. CIV. P. 38(b), Plaintiff respectfully demands a jury trial on all issues

triable by jury.


         Dated: March 22, 2024.                    Respectfully submitted,

                                                   /s/ Lawrence R. Cohan
                                                   Lawrence R. Cohan, Esq.
                                                   Joshua C. Cohan, Esq.
                                                   Rayna McCarthy, Esq.
                                                   SALTZ MONGELUZZI BENDESKY P.C.
                                                   One Liberty Place 1650 Market St, 52nd
                                                   Floor Philadelphia, PA 19103
                                                   lcohan@smbb.com
                                                   jcohan@smbb.com
                                                   rmcarthy@smbb.com
                                                   (215) 575-3887 (Phone)
                                                   (215) 496-0999 (Fax)

                                                   Counsel for Plaintiff




                                                 48
